
The PRESIDENT
delivered the opinion of the court.
The bill of exceptions furnishes no ground for reversing the judgment of the County Court. Dillon was a disinterested witness, he having been indemnified by his recovery against Field, and the promise, tho’ made to him, was intended for Field, it being given in answer to the letter of Field upon the subject of saving him harmless.
As to the want of consideration in the first count, which has been relied upon at the bar, the court is of opinion that there is nothing in the objection. A tenant in tail might at that time have made leases for three lives, under certain restrictions prescribed by the act of Assembly; but if he could not, yet surely he might promise to make a lease, and might be compelled to pay damages for breach of such a promise. In this case, it is evident that he did make such a promise, and received rent in consequence of it, which was a sufficient consideration to uphold the undertaking.
The judgment of the District Court must be reversed, and that of the County Court affirmed.
